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                     EXHIBIT 1
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                                Telephonic Hearing
                                  April 17, 2020


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

         Civil Action No. 19-cv-00874-RBJ-MEH
         _________________________________________________________
         WARNER BROS. RECORDS INC., et al.,
         Plaintiffs,
         vs.
         CHARTER COMMUNICATIONS, INC.,
         Defendant.
         _________________________________________________________
                                TELEPHONIC HEARING
                              April 17, 2020
         _________________________________________________________

                     This telephonic hearing was taken before
         Special Master Regina Rodriguez on April 17, 2020, at
         10:04 a.m. Mountain Standard Time before K. Michelle
         Dittmer, Registered Professional Reporter and Notary
         Public within the state of Colorado.

         (The reporter, K. Michelle Dittmer, appearing remotely
         via telephone)




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    2    ON BEHALF OF THE PLAINTIFF WARNER BROS. RECORDS INC.:
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    1    otherwise to produce anything after that with the people
    2    that they were involved with with gathering evidence,
    3    getting things together.        So that will be a dispute.        We
    4    have corresponded about it, and maybe we just tee that up
    5    for our next call, as far as --
    6                      SPECIAL MASTER RODRIGUEZ:        Yeah.
    7                      MS. RANAHAN:     -- the time frame.       But that
    8    is our concern, is that the way they have crafted some of
    9    these responses to cut off will necessarily leave out the
   10    communications we're after.
   11                      So that's where it involves the privilege
   12    log, but we will tee that up for the next call.
   13                      SPECIAL MASTER RODRIGUEZ:        All right.
   14    Certainly if there are additional documents that are
   15    required to be produced, we'll need to supplement the
   16    privilege log accordingly.
   17                      All right.     The next topic was financial
   18    information.     Total annual revenue by channel for ten
   19    years has been requested.        I believe that refers to RFP
   20    16, 17.
   21                      Counsel for Charter, would you like to
   22    address that issue?
   23                      MS. RANAHAN:     Sure.    Thank you.     And this
   24    is Erin Ranahan again for Charter.
   25                      So what this is is actually only three



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    1    years' worth because we've already gotten this
    2    information for 2016.       What we're actually seeking here
    3    is three years' worth of top-end annual financials --
    4    2017, 2018, 2019 -- that include the streaming revenues.
    5                      And just to give you some background, the
    6    snippet of time in which this case involves, because of
    7    the total length in the claim period, is a time when
    8    there was -- when this P2P issue was at its most
    9    pronounced.
   10                      Today it's no longer a problem.         Today
   11    plaintiffs' clients are making a ton of money off of the
   12    Internet streaming capabilities, so there are now
   13    actually -- Charter's Internet is actually giving them a
   14    vehicle by which they make a huge amount of money and
   15    the -- more money than they've ever made off of
   16    streaming.
   17                      So one of the main issues of statutory
   18    damages is a consideration of deterrence and what type of
   19    amount would be appropriate to deter the conduct.
   20    Mr. Elkin is on the line, and he made this argument which
   21    was accepted by the Court in the Cox case, which is that
   22    what's happening today is obviously relevant to
   23    deterrence to know whether that's required or not.
   24                      So it's not a decade's worth, looking
   25    through the three years, it's not public, it's not



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    1    something we can readily access.         Most of these
    2    plaintiffs do not have public records, unlike Charter.
    3    And it's squarely relevant, not only to just the history
    4    and the context for understanding why we're at this old
    5    time, why this issue does not prevail today; more of a
    6    dinosaur issue, which is what Judge Hegarty called it at
    7    one point.    And it's not relevant to -- or it actually
    8    would be relevant to show why deterrence is not as
    9    important here as it might otherwise be if this is an
   10    ongoing concern or problem that the plaintiffs are
   11    suffering.
   12                      SPECIAL MASTER RODRIGUEZ:        Okay.    Counsel
   13    for plaintiff?
   14                      MR. SPERLING:     Hi, Ms. Rodriguez.       It's
   15    Jonathan Sperling.
   16                      So I'm not going to engage in sort of the
   17    peripheral dispute of whether P2P is an issue, not an
   18    issue.    Ms. Ranahan and I strongly, vigorously disagree.
   19                      The issue is, what do they need this
   20    information for?      They already have a treasure trove of
   21    financial information.       If their argument is that the
   22    music business is doing well, then they have information,
   23    top-level financial information for each of the plaintiff
   24    groups to show how they're performing financially.
   25                      The issue is, why do they need additional



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